 Case
Case   1:18-cr-00204-NGG Document
     2:06-cv-01051-KSH-CLW        814-2
                           Document      Filed09/13/19
                                    848 Filed  11/22/19 Page
                                                         Page  1 of
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                                   11200



  CROCKETT & ASSOCIATES
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  Roseland, New Jersey 07068
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  Principles, Inc.; and Cross-claim Defendant Nancy Salzman

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

   NXIVM CORPORATION,                        Civil Action No.: 06-cv-1051
   (formerly known as EXECUTIVE              (KSH/CLW)
   SUCCESS PROGRAMS, INC.) and
   FIRST PRINCIPLES, INC.,                   NOTICE OF MOTION TO
                                             WITHDRAW AS COUNSEL
               Plaintiffs,

         v.

   MORRIS SUTTON, ROCHELLE
   SUTTON, THE ROSS INSTITUTE,
   RICK ROSS (a/k/a “RICKY”
   ROSS), STEPHANIE FRANCO,
   PAUL MARTIN, Ph.D., AND
   WELLSPRING RETREAT, INC.,

             Defendants.
   RICK ROSS,

               Counterclaim-Plaintiff,
 Case
Case   1:18-cr-00204-NGG Document
     2:06-cv-01051-KSH-CLW        814-2
                           Document      Filed09/13/19
                                    848 Filed  11/22/19 Page
                                                         Page  2 of
                                                             2 of   13 PageID
                                                                  4 PageID:   #:
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                                   11201



         -against-

   KEITH RANIERE, NANCY
   SALZMAN, KRISTIN KEEFFE,
   INTERFOR, INC., JUVAL AVIV,
   JANE DOE, AND JOHN DOES 1-
   10,

               Counterclaim-
                Defendants.

   INTERFOR, INC. and JUVAL
   AVIV,

               Crossclaimants,

         v.

   NXIVM CORPORATION, KEITH
   RANIERE, NANCY SALZMAN
   and KRISTIN KEEFFE,

               Crossclaim-Defendants.




                                        2
 Case
Case   1:18-cr-00204-NGG Document
     2:06-cv-01051-KSH-CLW        814-2
                           Document      Filed09/13/19
                                    848 Filed  11/22/19 Page
                                                         Page  3 of
                                                             3 of   13 PageID
                                                                  4 PageID:   #:
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                                   11202



  TO:

   Nancy Salzman                                 NXIVM Corp.
   c/o                                           5 Southside Drive, Unit 11
   Robert Soloway, Esq.                          Clifton Park, NY 12065
   Rothman Schneider Soloway & Stern
   P.C.                                          Matthew J. Fedor, Esq.
   100 Lafayette Street, Suite 501               DRINKER BIDDLE & REATH LLP
   New York, NY 10013                            500 Campus Drive
                                                 Florham Park, NJ 07932-1047
   Anthony J. Sylvester, Esq.
   SHERMAN WELLS SYLVESTER &                     Attorneys for Cross-Defendant Keith
   STAMELMAN LLP                                 Raniere
   210 Park Avenue, 2nd Floor
   Florham Park, NJ 07932

   Attorneys for Defendants the Estate of
   Morris Sutton, Rochelle Sutton, and
   Stephanie Franco

   Robert J. Lack
   FRIEDMAN KAPLAN SEILER &
   ADELMAN LLP
   One Gateway Center, 25th Floor
   Newark, NJ 07102-5311
   (973) 877-6400

   Attorneys for Cross-Claimants Interfor,
   Inc. and Juval Aviv




        PLEASE TAKE NOTICE that on October 7, 2019, at 9:00 a.m., or as soon

  thereafter as counsel may be heard, the undersigned attorneys for Plaintiffs/

  Counterclaim Defendants NXIVM Corporation, f/k/a Executive Success Programs,


                                             3
 Case
Case   1:18-cr-00204-NGG Document
     2:06-cv-01051-KSH-CLW        814-2
                           Document      Filed09/13/19
                                    848 Filed  11/22/19 Page
                                                         Page  4 of
                                                             4 of   13 PageID
                                                                  4 PageID:   #:
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  Inc., and First Principles, Inc. (collectively “NXIVM”) and Cross-Claim Defendant

  Nancy Salzman shall move before the Honorable Katherine S. Hayden, U.S.D.J.,

  seeking an Order permitting Crockett & Associates to withdraw as counsel for

  NXIVM and Ms. Salzman. This motion is based on lack of direction on how to

  proceed from either NXIVM or Ms. Salzman.

           PLEASE TAKE FURTHER NOTICE that in support of this Motion,

  Crockett & Associates will rely on the Declarations of Robert D. Crockett and

  Chase T. Tajima submitted herewith. A proposed form of Order is also enclosed.

           No oral argument is requested by Crockett & Associates. If oral argument is

  requested by any other party, Crockett & Associates requests permission to appear

  via telephone.



  September 12, 2019                      Respectfully submitted,


                                                Robert D. Crockett


                                                /s/ Brian M. English
                                                Brian M. English


  4838-4242-8325, v. 1




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  Case
Case    1:18-cr-00204-NGG Document
     2:06-cv-01051-KSH-CLW Document814-2
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                                          Filed 11/22/19  Page15ofof313
                                                09/13/19 Page           PageID20702
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   Roseland, New Jersey 07068
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   Attorneys for Plaintiffs/Counterclaim Defendants NXIVM Corporation and First
   Principles, Inc.; and Cross-claim Defendant Nancy Salzman

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

    NXIVM CORPORATION,                        Civil Action No.: 06-cv-1051
    (formerly known as EXECUTIVE              (KSH/CLW)
    SUCCESS PROGRAMS, INC.) and
    FIRST PRINCIPLES, INC.,                   DECLARATION OF ROBERT
                                              D. CROCKETT IN SUPPORT
                Plaintiffs,                   OF MOTION TO WITHDRAW
                                              AS COUNSEL
         v.

    MORRIS SUTTON, ROCHELLE
    SUTTON, THE ROSS INSTITUTE,
    RICK ROSS (a/k/a “RICKY”
    ROSS), STEPHANIE FRANCO,
    PAUL MARTIN, Ph.D., AND
    WELLSPRING RETREAT, INC.,

              Defendants.
    RICK ROSS,

                Counterclaim-Plaintiff,
  Case
Case    1:18-cr-00204-NGG Document
     2:06-cv-01051-KSH-CLW Document814-2
                                    848-1 Filed
                                          Filed 11/22/19  Page26ofof313
                                                09/13/19 Page           PageID20703
                                                                      PageID:  #:
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          -against-

    KEITH RANIERE, NANCY
    SALZMAN, KRISTIN KEEFFE,
    INTERFOR, INC., JUVAL AVIV,
    JANE DOE, AND JOHN DOES 1-
    10,

                Counterclaim-
                 Defendants.

    INTERFOR, INC. and JUVAL
    AVIV,

                Crossclaimants,

          v.

    NXIVM CORPORATION, KEITH
    RANIERE, NANCY SALZMAN
    and KRISTIN KEEFFE,

                Crossclaim-Defendants.



         I, Robert D. Crockett, declare as follows:

         1.    I am the owner and principal of the law firm Crockett & Associates

   (“Crockett Firm”), attorneys in this matter for Plaintiffs NXIVM Corporation and

   First Principles, Inc. and Cross-claim Defendant Nancy Salzman, President of
   NXIVM. I have personal knowledge of all matters referenced herein. I submit this

   declaration in support of Crockett & Associates’ motion seeking to withdraw as

   counsel for NXIVM, First Principles, Inc., and Ms. Salzman.
         2.    Between the time of the Interfor bench trial against NXIVM on June

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  Case
Case    1:18-cr-00204-NGG Document
     2:06-cv-01051-KSH-CLW Document814-2
                                    848-1 Filed
                                          Filed 11/22/19  Page37ofof313
                                                09/13/19 Page           PageID20704
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   19-20, 2017 and the present, the Crockett Firm never received notice of discharge

   by NXIVM, First Principles, Inc., or Ms. Salzman, and thus had no reason to move

   to withdraw previously.

            3.       On August 26, 2019, this Court issued an order instructing Interfor

   counsel to make an additional submission to the Court with regard to attorneys’

   fees incurred at trial and prejudgment interest, with the Interfor submission due

   September 24, 2019, and any response by NXIVM due October 15, 2019. (Dkt.
   No. 842.)

            4.       I instructed Chase Tajima, an associate at my firm, to attempt to

   contact NXIVM representatives and Ms. Salzman for instructions, guidance, or
   direction on how to proceed in responding to the Court’s August 26, 2019 order.

   The Crockett Firm has received no instructions from any representative of NXIVM

   or Ms. Salzman indicating how we should proceed. The Crockett Firm does not
   expect to receive any instructions or direction because, as noted by this Court,

   “NXIVM is no longer in operation.” Crockett & Associates therefore makes this

   Motion to Withdraw based on lack of direction or guidance from its clients.

            I declare under penalty of perjury under the laws of the United States that

   the foregoing is true and correct and that this declaration was executed in Valencia,

   California on September 12, 2019.



                                               Robert D. Crockett

   4849-1513-6421, v. 1




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Case    1:18-cr-00204-NGG Document
     2:06-cv-01051-KSH-CLW Document814-2
                                    848-2 Filed
                                          Filed 11/22/19  Page18ofof313
                                                09/13/19 Page           PageID20705
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Case    1:18-cr-00204-NGG Document
     2:06-cv-01051-KSH-CLW Document814-2
                                    848-2 Filed
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                                                09/13/19 Page           PageID20706
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Case   1:18-cr-00204-NGG Document
     2:06-cv-01051-KSH-CLW        814-2
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                                                 09/13/19 Page             PageID
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Case   1:18-cr-00204-NGG Document
     2:06-cv-01051-KSH-CLW        814-2
                           Document 848-3 Filed
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                                                 09/13/19 Page             PageID
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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

                      CIVIL ACTION NO. 06-01051 (KSH/CLW)

   NXIVM CORPORATION, (formerly known as
   EXECUTIVE SUCCESS PROGRAMS, INC.)
   and FIRST PRINCIPLES, INC.,

                 Plaintiffs,
                                                     ORDER GRANTING MOTION
    v.                                               TO WITHDRAW AS COUNSEL

   MORRIS SUTTON, ROCHELLE SUTTON,
   THE ROSS INSTITUTE, RICK ROSS (a/k/a
   “RICKY” ROSS), STEPHANIE FRANCO,
   PAUL MARTIN, Ph.D., AND WELLSPRING
   RETREAT, INC.,

                 Defendants.
    RICK ROSS,
             Counterclaim-Plaintiff,

          -against-

    KEITH RANIERE, NANCY SALZMAN,
    KRISTIN KEEFFE, INTERFOR, INC.,
    JUVAL AVIV, JANE DOE, AND JOHN
    DOES 1-10,

             Counterclaim-Defendants.
    INTERFOR, INC. and JUVAL AVIV,
             Crossclaimants,
        v.

    NXIVM CORPORATION, KEITH RANIERE,
    NANCY SALZMAN and KRISTIN KEEFFE,
            Crossclaim Defendants.
 Case
Case   1:18-cr-00204-NGG Document
     2:06-cv-01051-KSH-CLW        814-2
                           Document 848-3 Filed
                                           Filed11/22/19  Page 212ofof2 13
                                                 09/13/19 Page             PageID
                                                                        PageID:   #:
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            THIS MATTER having been opened by way of motion to the Court by

   Crockett & Associates, attorneys pro hac vice for Plaintiffs/Counterclaim

   Defendants NXIVM Corporation, f/k/a Executive Success Programs, Inc., and First

   Principles, Inc. (collectively “NXIVM”), and Cross-Claim Defendant Nancy

   Salzman, seeking an order permitting Crockett & Associates to withdraw as

   counsel for NXIVM and Ms. Salzman; and the Court having considered the

   supporting papers, and any opposition thereto, and for good cause shown;



            IT IS on this ___________ day of ___________________, 2019;

            ORDERED that Crockett & Associates’ motion to withdraw as counsel for

   NXIVM Corporation, First Principles, Inc., and Nancy Salzman is hereby

   GRANTED.




                                          ________________________________
                                           Hon. Katharine S. Hayden, U.S.D.J.
   4824-0871-0053, v. 1




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Case   1:18-cr-00204-NGG Document
     2:06-cv-01051-KSH-CLW        814-2
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                                           Filed11/22/19  Page 113ofof1 13
                                                 09/13/19 Page             PageID
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